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Check the box next to the best description
of your cause of action. Choose only one:

Prisoner Civil Rights                                       0
Non-Prisoner Civil Righu
Personal InjuryrTolt                                        D
Tax Collection Practices
EmploymentDiscrimination                                    0
Other (specify)




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MONTANA

                                 VV\,$FL,Q g& u\                                     DMSION
                                 (You must fill in this blank. See Instruction 6.)                  .biz.,-.   . ..

               'J,- ~ C ) W ? S O K                                           Cause No.
                                                                                          (to be filled in by Clerk of Court)




(Enter above the full name of each plaintic
including prisoner number, if any.)

                   Plaintiffs,

     VS.                                                                              COMPLAINT
                                                                                      Jury Trial Demanded
                                                                                      Jury Trial Not Demanded m




(Enter above the full name of each defendant.)

                  Defendants.



I.   Use this form to file a civil complaint with the United States District Court for the District of Montana. You
     may attach additional pages where necessary.

2.   Your complaint must include only counts/causes of action and facts - not legal arguments or citarions.

3.   Yonr complaint must be typed or legibly handwritleu. All pleadings and other papers submitted for filing must
     be on 8 U" x 1I" paper (letter size). Each plaintiff must sign the complaint (see page 6). The signatures need
     not be notanzed. However, each signature must be an original and not a copy. You must pay the Clcrk for


                                                                                                                       Complaint
Plaintiffs Lart Nome               OLMD~~Z'~                                                                          Page 1 0/6
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       copies of your complaint or other court records, even if you are proccediig in forma pauperis.

 4.   Until April 10, 2006, the filing fec for a complaint is 1250.00. Beginning on April 10, 2006, the filing fee for a
      complaint is $350.00. The filing fee is set by Congress and cannot be changed by the Court. In addition, you
      will bc required to pay the cost of serving the complaint on each of the defendants. If you are unable to prepay
      the entire filing fee and servicc costs for this action, you may move to proceed in f o m a pauperis. Your
      complaint will be returned to you wifhout]iling ifil is not accompanied by either the'full /ding fee or a
      motion to proceed in forma pawperis Please note that prisoners proceeding in forma pauperis are required to
      pay the full filing fee in installmeits.

 5.   Complaints submitted by persons proceeding in forma pauperis and complaints submimed by prisoners suing a
      govcmmental entity or employee are rcvicwed by the Court before the defendants are required to answer. See
      28 U.S.C. 55 1915(e)(2), 1915A(a); 42 U.S.C. 5 1997e(c). After the Councompleks the review process, you
      will receive an Order explaining the findings and any further action you may or must take. The review process
      may take a few months; each case receives the judge's individual attention.

 6.   The case caption @age 1 of this form) must indicak theproper Division for filing. A Division where tbe alleged
      wrong(s) occurred is a proper Division. When you hevc completed your complaint, mail the original of your
      complaint and either the full filing fce or your motion to procesd in forma pauperis to the proper Division:

 Billin~SDivision:      Clerk 0fU.S. District Court, 316 N. 26th. Room 5405, Billings, MT 59101
                        (Big Horn, Carbon, Carter, Custcr, Dawson, Fallon, Garfield, Golden Valley. McCone,
                        Musselshell, Park, Petrolcum, Powder River, Prairie, Richland, Rosebud, Stillwater,
                        Sweetgrass, Treasure, Wheatland, Wibaux or Yellowstone County)

Butte Division:         Clerk 0fU.S. District Court, 400 N. Main St., Federal Bldg. Rm. 303, Butte, MT 59701
                        (Beaverhcad, Deer Lodge, Gallatin, Madison, or Silver Bow County)

Great Falls Division: Clerk of U.S. District Court, 215 1st Avc. North. P.O. Box 2186, Great Falls, MT59403
                      (Blaine, Cascade, Chouteau, Damels, Fergus, Glacicr, Hill, Judith Basin, Liberty,Phillips,
                      Pondera. Roosevelt, Sheridan, Teton, Toolc, or Valley County)

Helena D~vis~on:        Clerk of U.S. District Court, Paul G. Hatfield Courthouse, 901 Front St., Ste 2100, Helena.
                        MT 59626
                        (Broadwater, Jefferson, Lewis & Clark. Meagher, or Powell County)

Missoula Division:      Clerk of the U.S. District Coun, 201 E. Broadway, P.O. Box 8537, Missoula, MT59807
                        (Flathead, Granite, Lake, Lincoln, Mineral. Missoula, Ravalli, or Sanders County)



                                                  COMPLAINT
I. PLACE OF CONFINEMENT:

A.    Are you incarcerated?           Yes                No      (if No, go 10 Part 11)

8. If yes, where are you currently incarcerated?

C. If any of the incidents giving rise to your eomplaint occurred ia adifferent facility, list that facility:




Pinintiff's Lor1 Name   7h8l~
                            $?Dh
                                                                                                                 Complaint
                                                                                                                Page 2 of 6
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 11. EXHAUSTION OF ADMINISTRATIVE REMEDIES

 A. Non-Prisoners

      I.    Does any cause of action alleged in this complaint require
            you to exhaust adminimative remedies before filing in court? Yes                    N o E?    Don't Know

     2.     If yes, have you exhausted your adminish-ative remedies?          Yes               No

 B. Prisoners (If you listed other instimtions in 1.C above, please answer for each instimtion).

      I.    Is there a grievance procedure in your current institution?       Yes               No

     2.     Did you file an administrative grievance based upon the
            same facts wb~cbform the basis of this lawsuit?                   Yes               No

     3.     If you did not file an administrative grievance, explain why:




111. PARTIES TO CURRENT LAWSUIT

A.   Name of Plaintiff          &%M@.mn
                             ~\IL (

           (Please use additional sheets of paper to provide the names and addresses of any additional plaidffs.)

B. Defendant        T                                                                                     isemployed as

                                                              at
            (Position and Title, if any)                           (InstimtioolOrganization)

                                                                                                          isrmploycd as
                                                                                    ,
     -atrl\ehnh&A
         (Postt~onand Title, if any)                               (~nstitution/~rganlzadon)
                                                                                                         C\~L
     Defendant                                                                                            isemployed as

                                                              at
           (Position and Title, if any)                            (Instimtion/Organhation)

     Defendant                                                                                            isemployed as

                                                              at
           (Position and Titlc, if any)                            (InstirutionlOrganization)

     Defendant                                                                                            isemployed ar




Plaintiffs Lost Name             %
                                 fA
                                  p
                                  v
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                                                                 at
             [Position and Title, if any)                             (LstitutionlOrganization)

           (Please use additional sheets of paper to provide tho same information about any additional defendnnts.)

 IV. STATEMENT OF CLAIMS

 A. Count I (State your cause of action, e.g., violation of civil rightg):
                  .. c ~ Q                                                               c
      I.     Supporting Facts (State, as briefly as possible, thc facts of your case, including specific dates and
             locations. Do not give any legal arguments or cite cases or statutes.):




     2.     Defendants Involved (List the name of each defendant you intcnd to name in this claim. Specibally

                                                                               .
            describe how each defendant is personally involved and what they did or did not do):




    one consisting of Supporring Facts (following the directions under IV.A(I)), and one consisting of
    Defendants Involved (following the directions under IV.A(2)).




                                                                                                                 ~orniloinr
Plaintiff'sLasr Nnm                                                                                             Page 4 of6
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V. INJURY

   How have you been injured by the nctions of the defcndant(s)? You must state as specifically as porsiblc the
   actual injury you suffered from the actions of each individual defendant:




VI. RELIEF

   State briefly and precisely what you want the Court to do for you. Make no legal arguments. Cite no cases or
   STaNtes.




                                                                                                        Complain1
                                                                                                      Page 5 of 6
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V f i . PLAINTIFF'S DECLARATION

   A. I understand that I must keep the Court informed ofmy current mailing address and that my fsilure lo do so
       may result in dismissal of this Complaint without actual notice to ms.

   B. I declare under penalty of petjury that I am the plaintiff in the above action, that I have read the above
      complaint, and that the mformation I have set forth withtn it is mc and correct. 28 U.S.C. 6 1746; 18
      U . S C # 1621.

   C . (Prisoners Only) This Complaint was deposited in the prison sysrem for legal mail, postage prepaid or paid
       by the prison, on                                                      , Zo-,

   Executed at                                                    on
                     (Location)

            .    ~




  (If there is more than one Plaintiff, each Plaint




                                                                                                           Complaint
                                                                                                         Page 6 of 6
